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            Exhibit P-1
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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

____________________________________
                                    :
SUSAN BYRNE,                        :      C.A. NO. 3:17-CV-01104 (VLB)
           Plaintiff                :
v.                                  :
                                    :
YALE UNIVERSITY,                    :
           Defendant                :      DECEMBER 30, 2019
___________________________________ :


                         PLAINTIFF’S WITNESS LIST
Name           Address         Summary of       Expected       Likely/If
                               Anticipated      Duration of    Needed
                               Testimony        Testimony
Susan Byrne    c/o Plaintiff’s Employment       1-2 days for   Likely
               counsel         with Yale;       Plaintiff’s
                               various acts     direct
                               of alleged       examination
                               protected
                               activity;
                               Spanish &
                               Portuguese
                               Department’s
                               reaction to
                               acts of
                               alleged
                               protected
                               activity;
                               retaliation by
                               Yale;
                               damages and
                               efforts to
                               mitigate
                               damages
Rolena         c/o Defendants’ Supervision      Plaintiff’s    Likely
Adorno         counsel         of Plaintiff;    examination
                               Knowledge of     will be 2-4
                               Spanish &        hours.
                               Portuguese
                               Department’s
                               reaction to
                               Plaintiff’s

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                               alleged
                               protected
                               activity;
                               alleged
                               retaliatory
                               acts; decision
                               to
                               recommend
                               that Plaintiff
                               not be
                               granted
                               tenure and
                               promotion
Roberto        c/o Defendant’s Supervision      Plaintiff’s   Likely
Gonzalez       counsel         of Plaintiff;    examination
Echevarria                     Knowledge of     will be 2-4
                               Spanish &        hours.
                               Portuguese
                               Department’s
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               alleged
                               retaliatory
                               acts; decision
                               to
                               recommend
                               that Plaintiff
                               not be
                               granted
                               tenure and
                               promotion
Noel Valis     c/o Defendant’s Supervision      Plaintiff’s   Likely
               counsel         of Plaintiff;    examination
                               Knowledge of     will be 2-4
                               Spanish &        hours.
                               Portuguese
                               Department’s
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               alleged

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                               retaliatory
                               acts; decision
                               to
                               recommend
                               that Plaintiff
                               not be
                               granted
                               tenure and
                               promotion
Kate Stith                     Supervision      Plaintiff’s   Likely
                               of Plaintiff;    examination
                               Knowledge of     will be 2-4
                               Spanish &        hours.
                               Portuguese
                               Department’s
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               alleged
                               retaliatory
                               acts; decision
                               to
                               recommend
                               that Plaintiff
                               not be
                               granted
                               tenure and
                               promotion
Anibal         c/o Defendant’s Supervision      Plaintiff’s   Likely
Gonzalez-      counsel         of Plaintiff;    examination
Perez                          Knowledge of     will be 2-4
                               Spanish &        hours.
                               Portuguese
                               Department’s
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               alleged
                               retaliatory
                               acts; decision
                               to
                               recommend

                                     3
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                             that Plaintiff
                             not be
                             granted
                             tenure and
                             promotion
Kenneth      c/o Defendant’s Supervision      Plaintiff’s       Likely
Jackson      counsel         of Plaintiff;    examination
                             Knowledge of     will be 2-4
                             Spanish &        hours.
                             Portuguese
                             Department’s
                             reaction to
                             Plaintiff’s
                             alleged
                             protected
                             activity;
                             alleged
                             retaliatory
                             acts; decision
                             to
                             recommend
                             that Plaintiff
                             not be
                             granted
                             tenure and
                             promotion
Guiseppe     c/o Defendant’s Alleged          Plaintiff’s       Likely
Mazzotta     counsel         retaliatory      examination
                             acts; decision   will be 1 hour.
                             to
                             recommend
                             that Plaintiff
                             not be
                             granted
                             tenure and
                             promotion
Howard Bloch c/o Defendant’s Alleged          Plaintiff’s       Likely
             counsel         retaliatory      examination
                             acts; decision   will be 1 hour.
                             to
                             recommend
                             that Plaintiff
                             not be
                             granted
                             tenure and
                             promotion

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Jamaal         c/o Defendant’s Knowledge of     Plaintiff’s   Likely
Thomas         counsel         Spanish &        examination
                               Portuguese       will be 2-3
                               Department’s     hours.
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               Plaintiff’s
                               alleged
                               protected
                               activity
Stephanie      c/o Defendant’s Knowledge of     Plaintiff’s   Likely
Spangler       counsel         Spanish &        examination
                               Portuguese       will be 2-3
                               Department’s     hours.
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               alleged
                               retaliatory
                               acts;
                               Plaintiff’s
                               alleged
                               protected
                               activity
John Dovidio   c/o Defendant’s Supervision      Plaintiff’s   Likely
               counsel         of Plaintiff;    examination
                               Knowledge of     will be 1-2
                               Spanish &        hours.
                               Portuguese
                               Department’s
                               reaction to
                               Plaintiff’s
                               alleged
                               protected
                               activity;
                               alleged
                               retaliatory
                               acts; decision
                               to
                               recommend
                               that Plaintiff

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                              not be
                              granted
                              tenure and
                              promotion
Tamar         c/o Defendant’s Supervision      Plaintiff’s   Likely
Gendler       counsel         of Plaintiff;    examination
                              Knowledge of     will be 1-2
                              Spanish &        hours.
                              Portuguese
                              Department’s
                              reaction to
                              Plaintiff’s
                              alleged
                              protected
                              activity;
                              alleged
                              retaliatory
                              acts; decision
                              to
                              recommend
                              that Plaintiff
                              not be
                              granted
                              tenure and
                              promotion
John Mangan   c/o Defendant’s Supervision      Plaintiff’s   Likely
              counsel         of Plaintiff;    examination
                              Knowledge of     will be 1-2
                              Spanish &        hours.
                              Portuguese
                              Department’s
                              reaction to
                              Plaintiff’s
                              alleged
                              protected
                              activity;
                              alleged
                              retaliatory
                              acts; decision
                              to
                              recommend
                              that Plaintiff
                              not be
                              granted
                              tenure and
                              promotion

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Amy           c/o Defendant’s Supervision      Plaintiff’s   Likely
Hungerford    counsel         of Plaintiff;    examination
                              Knowledge of     will be 2-4
                              Spanish &        hours.
                              Portuguese
                              Department’s
                              reaction to
                              Plaintiff’s
                              alleged
                              protected
                              activity;
                              alleged
                              retaliatory
                              acts; decision
                              to
                              recommend
                              that Plaintiff
                              not be
                              granted
                              tenure and
                              promotion
Emily         c/o Defendant’s Knowledge of     Plaintiff’s   Likely
Bakemeier     counsel         Spanish &        examination
                              Portuguese       will be 1-2
                              Department’s     hours.
                              reaction to
                              Plaintiff’s
                              alleged
                              protected
                              activity;
                              alleged
                              retaliatory
                              acts
Benjamin      c/o Defendant’s Knowledge of     Plaintiff’s   Likely
Polak         counsel         Spanish &        examination
                              Portuguese       will be 1-2
                              Department’s     hours.
                              reaction to
                              Plaintiff’s
                              alleged
                              protected
                              activity;
                              alleged
                              retaliatory
                              acts; decision
                              to

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                                 recommend
                                 that Plaintiff
                                 not be
                                 granted
                                 tenure and
                                 promotion
William        c/o Plaintiff’s   Plaintiff’s      Plaintiff’s       Likely
Connors        counsel           alleged          examination
                                 protected        will be 1-3
                                 activity;        hours.
                                 alleged
                                 retaliatory
                                 acts; decision
                                 to
                                 recommend
                                 that Plaintiff
                                 not be
                                 granted
                                 tenure and
                                 promotion;
                                 Plaintiff’s
                                 damages
Janet Byrne    c/o Plaintiff’s   Plaintiff’s      Plaintiff’s       Likely
               counsel           damages          examination
                                                  will be 1 hour.
Mary Buckley   c/o Plaintiff’s   Plaintiff’s      Plaintiff’s       Likely
               counsel           damages          examination
                                                  will be 1 hour.
Pat McDaniel   c/o Plaintiff’s   Plaintiff’s      Plaintiff’s       Likely
               counsel           damages          examination
                                                  will be 1 hour.
Tom Byrne      c/o Plaintiff’s   Plaintiff’s      Plaintiff’s       Likely
               counsel           damages          examination
                                                  will be 1 hour.
Kevin Poole    College of        Knowledge of     Plaintiff’s       Likely
               Liberal Arts      Spanish &        examination
               Pontifical        Portuguese       will be 1 hour.
               College           Department’s
               Josephinum        reaction to
               7625 North        Plaintiff’s
               High Street       alleged
               Columbus, OH      protected
               43235             activity;
                                 alleged
                                 retaliatory
                                 acts;

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                                  Plaintiff’s
                                  damages
Paulo Moreira   Dept. of          Knowledge of   Plaintiff’s       Likely
                Modern            Spanish &      examination
                Languages         Portuguese     will be 1 hour.
                Literatures and   Department’s
                Linguistics       reaction to
                University of     Plaintiff’s
                Oklahoma          alleged
                Kaufman Hall      protected
                780 Van Vleet     activity;
                Oval              Plaintiff’s
                Norman, OK        damages
                73019
Frederick de    Department of     Plaintiff’s    Plaintiff’s       If needed
Armas           Romance           damages        examination
                Languages and                    will be 1 hour
                Literatures
                Weibolt 409A
                115 East 58th
                Street
                Chicago, IL
                60637
Bruce           Illinois State    Plaintiff’s    Plaintiff’s       If needed
Burningham      University        damages        examination
                Campus Box                       will be 1 hour
                4300
                Normal, IL
                61790-4300
Anne Cruz       University of     Plaintiff’s    Plaintiff’s       If needed
                Miami             damages        examination
                Merrick                          will be 1 hour
                Building, Room
                212
                5202 University
                drive
                Coral Gables,
                FL 33146
Anthony         University of     Plaintiff’s    Plaintiff’s       If needed
Cascardi        California –      damages        examination
                Berkeley                         will be 1 hour
                4125 Dwinelle
                Hall
                Berkeley, CA
                94720


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Roger Folger    University of     Plaintiff’s     Plaintiff’s      If needed
                Heidelberg        damages         examination
                Seminarstrasse                    will be 1 hour
                3
                D-69117
                Heidelberg
                Raum 312
                Germany
                06221-54-2764
Enrique         University of     Plaintiff’s     Plaintiff’s      If needed
Garcia Santo-   Michigan          damages         examination
Tomas           4108 Modern                       will be 1 hour
                Languages
                Bldg
                812 East
                Washington
                Street
                Ann Arbor, MI
                48109

Mary Gaylord    Harvard           Plaintiff’s     Plaintiff’s      If needed
                University        damages         examination
                Boylston Hall,                    will be 1 hour
                4th Floor
                Cambridge, MA
                02138
Patricia        Columbia          Plaintiff’s     Plaintiff’s      If needed
Grieve          University        damages         examination
                612 West 116                      will be 1 hour
                Street
                New York NY
                10027
Alison Weber    University of     Plaintiff’s     Plaintiff’s      If needed
                Virginia          damages         examination
                444 New Cabell                    will be 1 hour
                Hall
                Charlottsville,
                VA 22904
Victor Wang     Penta             March 6, 2015   Plaintiff’s      If needed
                500 Park          anonymous       examination
                Avenue, 8th       letter;         will be 1 hour
                Floor             complaints
                New York, NY,     within the
                10022             Spanish and
                United States     Portuguese
                                  Department;

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                                   the Climate
                                   Review;
                                   allegations
                                   against
                                   Roberto
                                   Gonzalez
                                   Echevarria;
 Emma Platoff    The Texas         March 6, 2015    Plaintiff’s      If needed
                 Tribune           anonymous        examination
                 919 Congress      letter; the      will be 1 hour
                 Avenue, The       Climate
                 Sixth Floor,      Review;
                 Austin, TX        complaints
                 78701             and staffing
                                   within the
                                   Spanish and
                                   Portuguese
                                   Department


1.    Additional Information Regarding Plaintiff’s Expert Witnesses
                   a.    Dr. Arthur Wright
      Area of Expertise: Economist, see attached expert report and CV.
       Opinions: As stated in more fully in Dr. Wright’s October 2018 expert report,
Dr. Wright calculated amounts for Plaintiff’s lost compensation and benefits from
June 30, 2016 through the end of 2018, and then projected amounts for front pay
for the period of time up to 2036. In addition, Dr. Wright calculated an additional
amount for extra taxes that would need to be paid to Ms. Byrne in order for her to
be made whole on any award in light of the fact that he is receiving the award in a
single tax year.
      Materials Relied Upon: See attached expert report.




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